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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                          )
M. NAWAZ RAJA, et al.,                    )
                                          )
              Plaintiffs,                 )
                                          )
              v.                          )      No. 16-cv-0511 (KBJ)
                                          )
FEDERAL DEPOSIT INSURANCE                 )
CORPORATION, et al.,                      )
                                          )
              Defendants.                 )
                                          )

                 MEMORANDUM OPINION ADOPTING
       REPORT & RECOMMENDATION OF THE MAGISTRATE JUDGE

       Pro se Plaintiffs M. Nawaz and Neelum Nawaz Raja (“Plaintiffs”) filed the

instant action on March 17, 2016, against the Federal Deposit Insurance Corporation,

numerous companies—including foreign business entities, banks, or subsidiaries

thereof—and the former chief executive officer of Indy Mac Bank. (See Compl., ECF

No. 1, ¶¶ 9–27.) In their complaint, Plaintiffs assert nine claims under the Truth in

Lending Act (“TILA”), 15 U.S.C. § 1601 et seq., and common law related to the

refinancing of their home loan and the defendants’ attempts to foreclose on their

property. (See id. ¶¶ 353–447 (claiming (1) “failure to give 3 day cooling period” in

violation of the TILA; (2) “violation of premature performance” under the TILA; (3)

“non-compliance” with the TILA; (4) “violation pursuant to[] section 130(a)” of the

TILA; (5) “breach of contract”; (6) “appraisal fraud”; (7) “slander of title and quiet

title”; (8) “fraud with fraudulent concealment”; and (9) “unjust enrichment”).)

       On April 18, 2017, this Court referred this matter for random assignment to a

Magistrate Judge for full case management. (See Min. Order of Apr. 18, 2017.) The
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case was assigned to Magistrate Judge Deborah Robinson, and the following year

twelve of the sixteen remaining named defendants—hereinafter referred to as

“Defendants”—filed four motions to dismiss. (See ECF No. 58 (motion to dismiss filed

by defendants MERSCORP Holdings, Inc., Merscorp Inc., Mortgage Electronic

Registration Systems, Inc., Deutsche Bank National Trust Company, Deutsche Bank

AG, and Deutsche Bank Securities, Inc.); ECF No. 61 (motion to dismiss filed by

IndyMac ABS, Inc. and IndyMac MBS, Inc.); ECF No. 66 (motion to dismiss filed by

CIT Bank, N.A., OneWest Bank N.A., and IndyMac Mortgage Services); ECF No. 81

(motion to dismiss filed by the Federal Deposit Insurance Corporation).) 1 Each of

Defendants’ motions to dismiss argues, among other things, that Plaintiffs’ complaint

fails to comply with Rule 8 of the Federal Rules of Civil Procedure. (See ECF No. 58-

2, at 21–22; ECF No. 61-1, at 10; ECF No. 66-1, at 22–25; ECF No. 81-1, at 26–27.) 2

          Before this Court at present is the Report and Recommendation that Magistrate

Judge Robinson filed regarding Defendants’ motions to dismiss. (See R. & R., ECF No.

104.) 3 The Report and Recommendation reflects Magistrate J udge Robinson’s

considered opinion that Defendants’ motions to dismiss should be granted, because

Plaintiffs’ complaint does not comply with Federal Rule of Civil Procedure 8’s

requirement concerning a “short and plain statement” of the claim. (See id. at 4

(quoting Fed. R. Civ. P. 8(a)(2)).) Specifically, Magistrate Judge Robinson finds that


1
 This Court previously dismissed two other defendants from this action. (See ECF No. 103
(memorandum opinion and order dismissing the action as to IMB Holdco LLC and Indy Mac Ventures
LLC).)
2
  Page number citations refer to the numbers automatically assigned by the Court’s electronic case
filing system.
3
    The Report and Recommendation, which is 7 pages long, is attached hereto as Appendix A.



                                                   2
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Plaintiffs’ seventy-five-page complaint “consist[s] almost entirely of a recitation of

grievances and conspiracy theories concerning financial institutions and federal

regulators[,]” and includes not only “allegations with respect to entities and individuals

not named as Defendants,” but also “vague and conclusory assertions regarding the

activity of various mortgage lenders, and claims regarding actions undertaken by

Defendant FDIC in wholly unrelated matters[.]” (Id. at 5 (internal citations omitted).)

In Magistrate Judge Robinson’s view, these flaws in Plaintiffs’ pleading prevented

Defendants from “receiv[ing] fair notice of the claim[s] against them [,]” which is the

very problem that Rule 8’s “short and plain statement” requirement addresses. (See id.

at 4 (citing Terrell v. Mr. Cooper Grp., Inc., No. 20-cv-0496, 2020 WL 4673420, at *3

(D.D.C. Aug. 12, 2020)).) And based on that finding, Magistrate Judge Robinson

concludes that Plaintiffs’ complaint must be dismissed. (See id. at 7; see also id. at 4

(explaining that a court “may dismiss the pleading or the action” if “a complaint fails to

comport with the standards of Rule 8” (quoting Terrell, 2020 WL 4673420, at *3)).)

       In addition to articulating these findings and conclusions, Magistrate Judge

Robinson’s Report and Recommendation also advises the parties that they may file

written objections to the Report and Recommendation, which must include “the portions

of the findings and recommendations to which objection is made and the basis of each

such objection.” (See id. at 7.) The Report and Recommendation also advises the

parties that “[i]n the absence of timely objections, further review of issues addressed [in

the Report and Recommendation] may be deemed waived.” (Id.) Under this Court’s

local rules, any party who objects to a Report and Recommendation must file a written

objection with the Clerk of the Court within 14 days of the party’s receipt of the Report




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and Recommendation. LCvR 72.3(b). The due date for objections has passed, and the

parties have not filed any objections.

       This Court has reviewed Magistrate Judge Robinson’s report and agrees with its

legal analysis and conclusions. Therefore, the Court will ADOPT the Report and

Recommendation in its entirety. Accordingly, as set forth in the separate Order that

accompanies this Memorandum Opinion, Defendants’ Motions to Dismiss (ECF Nos.

58, 61, 66, and 81) will be GRANTED. Furthermore, to the extent that not all of the

defendants in this action have filed or joined these motions to dismiss, this Court

further finds that Plaintiffs’ claims with respect to those defendants are also

insufficiently pled, see Fontaine v. JPMorgan Chase Bank, N.A., 42 F. Supp. 3d 102,

107 (D.D.C. 2014) (explaining that courts may dismiss a comp laint sua sponte for

failure to comply with Federal Rule of Civil Procedure 8), and thus Plaintiffs’ entire

Complaint, ECF No. 1, will be DISMISSED without prejudice.




DATE: September 30, 2020                  Ketanji Brown Jackson
                                          KETANJI BROWN JACKSON
                                          United States District Judge




                                             4
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                                                  Appendix A


                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA



M. NAWAZ RAJA, et al.,
                Plaintiffs,
          v.                                                                  Civil Action No. 16-511
                                                                                     KBJ/DAR
FEDERAL DEPOSIT INSURANCE
CORPORATION, et al.,
                 Defendants.



                                    REPORT AND RECOMMENDATION
           Plaintiffs M. Nawaz and Neelum Nawaz Raja commenced this action by filing a seventy-

five-page, 447-paragraph Complaint. Complaint (ECF No. 1). Plaintiffs named as Defendants

                                                                                venteen entities which appear

to be financial institutions who are subsidiaries thereof, and an individual identified as an officer

of one such entity.

           Plaintiffs, in the first paragraph of their Complaint, state that                              s under

the [Federal Deposit Insurance] A

                                                                 Id.1 Plaintiffs account of the events

preceding the challenged actions of the FDIC begins in the thirty-ninth paragraph of their

Complaint, where they assert that in 2006, they refinanced their home loan with Indy Mac Bank. 2


1
    See also Complaint, ¶¶ 28-34.
2
 See also id., ¶¶ 40-44, 46. Plaintiffs make further allegations regarding the mortgagor, as well as the entities which
subsequently became involved in the funding, assignment, reassignment, and servicing of the loan. See id., ¶¶ 49-
62, 65-86, 110-14, 119-23, 133-34, 182-199, 377-78, 381-82.
of the financial institutions named as Defendants. See id., ¶¶ 168-181, 398-99, 404-08. Additionally, Plaintiffs
complain about the bankruptcy proceeding undertaken by one of the financial institutions named as a Defendant.
See id., ¶¶ 242-61. Finally, Plaintiffs allege fraud by the FDIC and several of the financial institutions named as
Defendants. See id., ¶¶ 278-352, 421-47.
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Plaintiffs appear to allege that subsequent efforts by other entities named as Defendants to

foreclose on the property were flawed. See id., ¶¶ 87-106, 200-14. Plaintiffs also make

allegations concerning the manner in which the 2006 refinancing was consummated. See id., ¶¶

262-77.

         Plaintiffs reside in the Commonwealth of Virginia, and the property which is the subject

of their Complaint is the home in which they reside in the Commonwealth of Virginia.

         The undersigned, as well as the referring court, beginning in May 2017, undertook

extensive consideration of the status of service of process upon the named Defendants. See, e.g.,

05/25/2017 Minute Order; Report and Recommendation (ECF No. 44); Memorandum Opinion

and Order (ECF No. 56); Report and Recommendation (ECF No. 97). This consideration

culminated in the dismissal of IMB Holdco, LLC and Indy Mac Ventures, LLC as Defendants

for Plaintiffs failure to effect service upon them in accordance with Rule 4 of the Federal Rule

of Civil Procedure and the referring court [56] Memorandum Opinion and Order. 3

         Four motions to dismiss have been filed by the remaining Defendants:

              1) Motion to Dismiss Complaint (ECF No. 58) filed by Defendants
                 MERSCORP Holdings, Inc., Merscorp Inc., Mortgage Electronic
                 Registration Systems, Inc., Deutsche Bank National Trust
                 Company, Deutsche Bank AG, and Deutsche Bank Securities.

              2)
                   by Defendants IndyMac ABS, Inc. and IndyMac MDS, Inc.

              3) Defendants CIT Bank, N.A., OneWest Bank N.A., and IndyMac

                   No. 66) filed by CIT Bank, N.A., OneWest Bank N.A., and IndyMac
                   Mortgage Services.

              4)
                   No. 81) filed by the Federal Deposit Insurance Corporation.

3
 The individual who was named as a Defendant was never served and did not appear for the limited purpose of
contesting service. Indy Mac Indx 2006-AR8, one of the entities named as a Defendant, similarly was never served
and did not appear for the limited purpose of contesting service.

                                                        2
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         The remaining Defendants, in these motions, rely upon multiple grounds in support of

their respective motions. 4 Common to each of the four motions to dismiss is the ground that



8(a)(2) of the Federal Rules of Civil Procedure.

         Plaintiffs filed an opposition to each of the four motions to dismiss. In each opposition,

Plaintiffs incorporate the representations which they included in their Complaint and suggest that

this Court should permit them to take discovery. With respect to the arguments of all Defendants

regarding

undertake no effort to provide a more definite statement of their claims. 5

         Defendants filed replies (ECF Nos. 78, 79, 80, 89) to the respective oppositions.

Plaintiffs, without first securing leave of the Court to do so, filed a surreply to each reply (ECF

Nos. 83, 84, 85, 90).




4
  Among these grounds are arguments that because Plaintiffs previously and unsuccessfully litigated the same
claims presented in the instant action in the United States District Court for the Eastern District of Virginia, their
claims are barred by res judicata and issue preclusion. See, e.g., Memorandum in Support of Motion to Dismiss
Complaint (ECF No. 58-2) at 2. The record in the instant action includes (1) the order of a District Judge of the
Eastern District of Virginia dismissing Plaintiffs Complaint with prejudice, denying their motion for
reconsideration, and imposing sanctions; (2) the opinion of a panel of the United States Court of Appeals for the
                                                                                          enying Plaintiffs petition for
rehearing and for rehearing en banc, and (4) the mandate of the Fourth Circuit. Notice of Filing (ECF No. 18).
Plaintiffs                       certiorari was denied. Notice of Related Proceedings (ECF No. 30).
5
 See, e.g.,
Verified Complaint (ECF No. 72) at 8, 25-26;
Mortgage Electronic Registration Systems, Inc., Deutsche Bank National Trust Company, Deutsche Bank A.G. and
Deutsche Bank Securities Inc     s Motion to Dismiss Plaintiffs Verified Complaint (ECF No. 73) at 10-11, 30-33;

                                                   (ECF No. 76) at 18-25;
                                                                             (ECF No. 87) at 35-40.


                                                           3
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         Upon consideration of the entire record herein, the undersigned will recommend that each

of the four motions to dismiss be granted on the grou

8(a)(2) of the Federal Rules of Civil Procedure. 6



DISCUSSION

         Rule 8 of the Federal Rules of Civil Procedure provides, in pertinent part, that

pleading that states a claim for relief must contain a short and plain statement of the claim

                                                                                    This Court, just over two

weeks ago, characterized the Rule 8 requirement, including the requirement of Rule 8(d)(1) that

                               c

                                                                                                     Terrell v.

Mr. Cooper Group, Inc., Civil Action No. 20-0496, 2020 WL 4673420, at *3 (D.D.C. Aug. 12,

2020) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). The Court further noted

         complaint that is excessively long, rambling, disjointed, incoherent, or full of irrelevant

and confusing material does not meet the R                                                   Id. (citation

omitted). The C                            if a complaint fails to comport with the standards of Rule 8,

                                                            Id. (citations omitted).

                                                                             pro se litigant; however, pro se

                                                               Id.; see also Gassew v. Dept. of the

Treasury, Civil Action No. 20-01023, 2020 WL 2523178, at *1 (D.D.C. April 28, 2020)                       Pro se

                                                                                                    Brock v.

Okla., Civil Action No. 19-03112, 2019 WL 6525625, at *1 (D.D.C. Dec. 04, 2019)


6
 Given this recommendation, the undersigned has no occasion to consider herein other grounds, such as res judicata
and issue preclusion, see supra n.4, which also may warrant dismissal.

                                                        4
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a pro se                       s                                                           s drafted by

                   pro se litigants must comply with the Federal Rules of Civil P

(quoting Jarrell v. Tisch, 656 F. Supp. 237, 239 (D.D.C. 1987)).

         The undersigned finds that Plaintiffs                                      mandates

8. In reaching this finding, the undersigned has considered, but does not exclusively rely upon,



obser

conspiracy theories concerning financial institutions and federal regulators. For example,

Plaintiffs allege, with respect to one of the entities they name as a Defendant,

of [the entity] say so, does not make what has happened here morally, ethically, or politically

                                   see also id

what appears to be a criminal enterprise of RICO-style document manufacturing for purposes of

                                                        -proclaimed authority that is at best

                                                                  entities and individuals not named

as Defendants, see, e.g., id. at 22, n.19; vague and conclusory assertions regarding the activity of

various mortgage lenders, see, e.g., id. at 23-24, 47-49, and claims regarding actions undertaken

by Defendant FDIC in wholly unrelated matters, see, e.g., id. at 29 n.28, 49-54. Among the



                  239. The most recent U.S. bubble and resultant financial crisis
                  and Great Recession were driven by three epidemics of fraud led by
                  elite banker
                  (collectively, loan origination frauds by IndyMac, Lehman Brothers
                  and DBNTC et al in a joint venture), and 3) resale of such

                  and warrant

Id. at 40.



                                                    5
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         The undersigned is mindful that Plaintiffs are proceeding pro se

                                               assessment of their compliance with Rule 8. However,



Eastern District of Virginia, and the Fourth Circuit, that they were expected to confine their

                                   n statement of the claim showing that the pleader is entitled to

relief. See, e.g., Notice of Filing (ECF No. 18). 7

         The undersigned does not doubt that Plaintiffs feel strongly about the events

contemporaneous with and subsequent to the refinancing of their home, and, more broadly, the

various regulations affecting the home mortgage industry. However, their passion does not

permit this Court to dispense with the requirements of Rule 8(a)(2).




7
 Plaintiff                                  motions, make no attempt to explain how their seventy-five-page,
447-paragraph Complaint constitutes a                             Instead, they simply state their disagreement
                contentions regarding Rule 8                                                       See, e.g.,

Motion to Dismiss Verified Complaint (ECF No. 76) at 20-25; see also supra n.5 and accompanying text.


                                                       6
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CONCLUSION

         For all of the foregoing reasons, it is this 31st day of August, 2020,

         RECOMMENDED that each of the four pending motions to dismiss (ECF Nos. 58, 61,
                                                                                      8
66, 81) be GRANTED




                                                                         DEBORAH A. ROBINSON
                                                                         United States Magistrate Judge



      Within fourteen days, any party may file written objections to this report and
recommendation. The objections shall specifically identify the portions of the findings and
recommendations to which objection is made and the basis of each such objection. In the
absence of timely objections, further review of issues addressed herein may be deemed
waived.




8
 See supra n.6. In any event, the undersigned -- like the court in Terrell
...                                                                           icata and statute of limitations
             Terrell, 2020 WL 4673420, at *4.

                                                           7
